                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION

                               CIVIL ACTION NO.: 3:19-cv-541


CLARENCE ABNEY                                  )
                                                )
       Plaintiff,                               )
v.                                              )
                                                )
GENESYS TELECOMMUNICATIONS                      )
LABORATORIES, INC.                              )
                                                )
       Defendant.                               )
                                                )
                                                )



                     NOTICE OF DISMISSAL WITHOUT PREJUDICE

       Pursuant to Federal Rules of Civil Procedure 41(a)(1)(A)(i), Plaintiff, Clarence Abney,

hereby notifies the Court of the dismissal of all causes of action in Plaintiff’s Complaint against

Defendant, Genesys Telecommunications Laboratories, Inc., without prejudice. This notice of

dismissal is being filed with the Court before service by Defendant of either an answer or motion

for summary judgment.

                                                      Respectfully Submitted,

                                                      /s/ Jason S. Chestnut
                                                      Philip J. Gibbons, Jr., NCSB #50276
                                                      Craig L. Leis, NCSB #48582
                                                      Jason S. Chestnut, NCSB #52066
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                               CERTIFICATE OF SERVICE

       This is to certify that on November 14, 2019 the undersigned filed the foregoing using the

Court's CM/ECF system which will send notification of such filing to the appropriate CM/ECF

participants.




                                                    /s/ Jason S. Chestnut

                                                    Attorney for Plaintiff




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